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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re                                                              Chapter 11

    JAMBYS, INC., ET AL.,                                              Case No. 24-10913 (KBO)

                                 Debtors. 1                            Jointly Administered



    JAMBYS, INC.,                                                      Chapter 11

                                Plaintiff,                             Adv. Pro. No. 24-50065 (KBO)

    v.

    VELOCITY CAPITAL GROUP LLC, UNITED
    FIRST, LLC, GLOBAL FUNDING EXPERTS,
    LLC, GFE NY LLC, MCA SERVICING
    COMPANY, CLOUDFUND LLC, DELTA
    BRIDGE FUNDING, LLC, MAX RECOVERY
    GROUP LLC, SIMMONS CAPITAL
    PARTNERS, NEWCO CAPITAL GROUP VI
    LLC a/k/a NEWCO CAPITAL GROUPS VI,
    SELLERSFUNDING CORP. d/b/a SELLERSFI,
    ASSDJS LLC, ASSDJS 2 LLC, JAY
    AVIGDOR, BORIS MUSHEYEV,
    VIACHESLAV ELIYAYEV, BARTOSZ
    MACZUGA, VADIM SEREBRO, and MATT
    SIMMONS,

                                Defendants.


                            NOTICE AND STIPULATION OF DISMISSAL OF
                            DEFENDANT SELLERSFI WITHOUT PREJUDICE




1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number are
         as follows: Jambys, Inc. (4264) and Jambys NYC, Inc. (5373). The Debtors’ mailing address is 228 Park Avenue
         South, PMB 49630, New York, NY 10003.
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        PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), as

incorporated by Fed. R. Bankr. P. 7041, upon joint stipulation by plaintiff Jambys, Inc. (“Jambys”)

and defendant SellersFunding Corp. d/b/a SellersFi (“SellersFi”), Jambys hereby voluntarily

dismisses SellersFi from the above-captioned adversary proceeding without prejudice, provided

that SellersFi shall continue to abide by all of the terms of the Court’s Order Pursuant to 11 U.S.C.

§§ 105(A) and 362 Granting Debtors’ Emergency Motion for an Order (I) Declaring that the

Automatic Stay Applies to Certain Actions against Non-Debtors, and (II) Preliminarily Enjoining

Such Actions [Adv. D.I. 24] (the “P.I. Order”). 2

        For the avoidance of doubt, SellersFi continues to recognize the Court’s extension of the

automatic stay to Jack Ambrose and Andrew Goble (the “Jambys Officers”), and shall continue to

refrain from pursuing all remedies against Jambys and the Jambys Officers pertaining to the

agreement signed between SellersFi and Jambys on January 17, 2024 (the “SellersFi Agreement”)

and the personal guarantee signed by the Jambys Officers therefor (the “SellersFi Personal

Guarantee”), until confirmation of a plan of reorganization in the above-captioned bankruptcy

proceedings (the “Stay Period”) and as long as the bankruptcy proceedings are not converted to

chapter 7.

        It is hereby further jointly stipulated that any action by SellersFi during the Stay Period to

commence or continue enforcement of either the SellersFi Agreement or the SellersFi Personal

Guarantee shall be deemed to be a willful violation of the automatic stay; that Jambys reserves all

rights to pursue such violation(s) pursuant to 11 U.S.C. § 362(k); and that this Court shall retain

jurisdiction to adjudicate same.



2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the P.I. Order
[Adv. D.I. 24] and in the First Amended Verified Complaint for Injunctive Relief [Adv. D.I. 26] (the “Amended
Complaint”).
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         This Notice and Stipulation of Dismissal shall in no way be deemed a dismissal of the

above-captioned adversary proceeding against, and shall have no effect upon Jambys’s claims

against, any other defendants named in the above-captioned adversary proceeding. Each side shall

bear its own costs and expenses, including attorneys’ fees, with respect to this Notice and

Stipulation of Dismissal.



 Dated:    June 14, 2024
           Wilmington, Delaware

 PASHMAN STEIN WALDER                              MAURICE WUTSCHER LLP
 HAYDEN, P.C.

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 -and-                                             Counsel to Defendant, SellersFunding Corp.

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